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8                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
9                                       AT SEATTLE
10   UNITED STATES OF AMERICA,        )
                                       )                NO.    CR06-307RSM
11                    Plaintiff,       )
                                       )                ORDER DENYING
12              v.                     )                DEFENDANT’S MOTION
                                       )                TO REVOKE ORDER OF
13   QUOC SI LE,                       )                DETENTION
                                       )
14                    Defendant.       )
     _________________________________)
15

16             THIS MATTER having come before the Court upon a motion by the Defendant to
17   Revoke the Order of Detention, and based upon that motion, the record of the hearing
18   before the Magistrate Judge, the affidavits submitted, the Magistrate Judge’s Order of
19   Detention, and the entirety of the records and files herein, the Court FINDS and RULES
20   as follows:
21             1.   The defendant has been charged by Indictment with being part of a
22   conspiracy to distribute large amounts of marijuana, over a 5 year period, in violation of
23   title 21, United States Code §§ 841(a)1, 841(b)1B, and 846.
24             2.   There is probable cause to believe that the defendant has committed the drug
25   offenses charged. If convicted, the maximum penalty is in excess of ten years with a
26   mandatory minimum of five years of imprisonment. Therefore, there is a rebuttable
27   presumption against the defendant’s release based upon both dangerousness and risk of
28   flight.


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1           3.   On September 20, 2006, the Magistrate Judge found that nothing in the
2    record presented at the detention hearing satisfactorily rebutted the presumption against
3    release and ordered the defendant held based on risk of flight and dangerousness to other
4    persons in the community. On October 10, 2006, after review of defendant’s motion for
5    reconsideration the Magistrate Judge denied the defendant’s motion and ordered his
6    continued detention.
7    4.   On the day of arrest, the defendant’s residence was searched and agents seized
8    approximately ten pounds of marijuana, 13 baggies of suspected cocaine and roughly
9    $6,000 in cash. The marijuana was located in a child’s bedroom while the cocaine was
10   found in the master bedroom of the residence.
11          5. The defendant has a valid green card and resides in the United States as a
12   resident alien. He has six prior felony convictions dating back to 1994, with five of these
13   convictions occurring while he was a juvenile.
14          6.   The government, in its Response to Defendant’s Motion for Review of
15   Detention Order, has now presented additional documents arising from the defendant’s
16   prior arrest for marijuana trafficking on April 22, 2005, in Bloomington, Minnesota.
17          7.   A search of the defendant’s motel room following that arrest yielded
18   approximately 30 pounds of marijuana in heat sealed plastic bags. When questioned by
19   police, the defendant admitted that he was paid to deliver the drugs from Seattle to
20   Minnesota but that he was loyal to the people that paid him and he refused to give any
21   further information about these other individuals. Minnesota law enforcement officials
22   indicated that the defendant had been observed making weekly trips to Minnesota for the
23   past few months.
24          8.    At the present time the defendant has no identifiable, legitimate employment
25   and the wiretap evidence as well as the seizure of drugs and cash from his residence
26   supports the inference that, even after his recent arrest in Minnesota, the defendant
27   continues to engage in large scale trafficking of drugs in order to make a living.
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1           9.    The defendant has immediate family in Vietnam and if convicted of this
2    offense he faces a minimum of five years in prison to be followed by his subsequent
3    release to the custody and conditions required by immigration and custom’s officials.
4    Therefore, he has a great incentive to flee the country if released.
5           10.    Consequently, in light of all of the above, the defendant is viewed as posing
6    both a risk of flight and a danger to other persons in the community.
7           11.    Based upon a full review of the evidence before the Magistrate Judge, as
8    well as the evidence subsequently presented to this Court, the Magistrate Judge’s finding
9    that there was no condition or combination of conditions that would reasonably assure
10   future Court appearances and/or the safety of other persons in the community, was not
11   error and her decision will be affirmed.
12

13                 DATED this 31st day of October 2006.
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                                                       A
                                                       RICARDO S. MARTINEZ
                                                       UNITED STATES DISTRICT JUDGE
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     ORDER DENYING DEFENDANT’S MOTION
     TO REVOKE ORDER OF DETENTION - 3
